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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 15-1548V
                                      Filed: April 19, 2017
                                         UNPUBLISHED

****************************
BERNADETTE DICIANNI, and,              *
MICHAEL SZILAGYI, parents of D.S., *
A minor,                               *
                                       *
                  Petitioner,          *      Joint Stipulation on Damages;
v.                                     *      Measles-Mumps-Rubella (“MMR”);
                                       *      Thrombocytopenic purpura;
SECRETARY OF HEALTH                    *      Special Processing Unit (“SPU”)
AND HUMAN SERVICES,                    *
                                       *
                  Respondent.          *
                                       *
****************************
Edward M. Kraus, Law Offices of Chicago Kent, Chicago, IL, for petitioner.
Robert Paul Coleman, III, U.S. Department of Justice, Washington, DC, for respondent.

                              DECISION ON JOINT STIPULATION 1

Dorsey, Chief Special Master:

        On December 18, 2015, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the
“Vaccine Act”). Petitioner alleges that D.S. suffered thrombocytopenic purpura following
his December 26, 2012 measles-mumps-rubella (“MMR”) vaccination. Petition at 1;
Stipulation, filed April 18, 2017, at ¶ 4. Petitioner further alleges that D.S. sustained the
first symptoms or manifestation of onset of thrombocytopenic purpura within the time
period set forth in the Vaccine Injury Table, that he experienced residual effects of this
injury for more than six months after vaccination, that there is not a preponderance of
evidence that D.S.’s condition is due to a factor unrelated to his December 26, 2012
MMR vaccination, and that there has been no prior award or settlement of a civil action
for damages on behalf of D.S. as a result of his condition. Petition at 11; Stipulation at
1 Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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¶¶ 4-5. Accordingly, the parties stipulate that “petitioners are entitled to compensation
under the terms of the Vaccine Program.” Stipulation at ¶ 7.

       On April 18, 2017, the parties filed the attached joint stipulation, stating that a
decision should be entered awarding compensation. The undersigned finds the
stipulation reasonable and adopts it as the decision of the Court in awarding damages,
on the terms set forth therein.

     Pursuant to the terms stated in the attached Stipulation, the undersigned
awards the following compensation:

            •   A lump sum of $93,109.00 in the form of a check payable to
                petitioners as guardians/conservators of the estate of D.S.

            •   A lump sum of $1,891.00, which amount represents reimbursement
                for out-of-pocket expenses, in the form of a check payable to
                petitioners in their individual capacity.

These amounts represents compensation for all items of damages that would be
available under 42 U.S.C. § 300aa-15(a). Id. Stipulation at ¶ 8

       The undersigned approves the requested amount for petitioner’s compensation.
In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment in accordance with this decision. 3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice

renouncing the right to seek review.

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